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8                                   UNITED STATES DISTRICT COURT
9                                 CENTRAL DISTRICT OF CALIFORNIA
10                                         WESTERN DIVISION
11

12   KELSEY DRU GLEGHORN,                        )    No. CV 21-6247-CJC (PLA)
                                                 )
13                         Plaintiff,            )    ORDER DISMISSING CASE WITHOUT
                                                 )    PREJUDICE
14                   v.                          )
                                                 )
15   M. METE, et al.,                            )
                                                 )
16                         Defendant(s).         )
                                                 )
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18          On August 2, 2021, plaintiff filed a pro se civil rights action herein pursuant to 42 U.S.C. §
19   1983. On September 22, 2021, the Court denied plaintiff’s Application to proceed in forma
20   pauperis (ECF No. 2), based on his status as a three-strikes litigant pursuant to 28 U.S.C. §
21   1915(g). (ECF No. 5). The Court ordered plaintiff to pay the full filing fee within 30 days of the
22   date of that Order and advised him that failure to do so would result in this case being dismissed.
23   (Id.). Plaintiff has failed to pay the fees, or otherwise respond to the September 22, 2021, Order,
24   and his time for doing so has expired. Accordingly, the case is now dismissed.
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26          November 1, 2021
     DATED: _________________________                ________________________________________
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                                                          HONORABLE  E CORMAC JJ.. C
                                                                                   CARNEY
                                                                                    ARNEY
27                                                        UNITED STATES DISTRI
                                                                         DISTRICT
                                                                               ICT JUDGE
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